LAW OFFICES OF TIMOTHY P. JOHNSON

Case

v -|>

\]O`\U`l

10
11
12
13
14
15
16
17
18
19
`20
21
22
23
24
25
26
27
28

 

2:12-cv-O4814-.]FW-E Document 15 Filed 09/24/12 Page 1 of 3 Page |D #:125

TIMoTHY P. JoHNsoN (BARNo. 66333)

LAW OFFICES OF TIMOTHY P. J()HNSON
1970 C)LD TUST]N AVENUE, SEcoND FLooR
SANTA ANA, CALIFoRNlA 927 05

TELEPHoNE: (714) 832-1170

FAcsIMILE: (714) 832-1179

E-MA[L: tjohnson@johnson-chambers.com

Attorneys for Defendant LTD Financial Services, L.P.

UNlTED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

EDVIN KESH[SHYAN Case No. CVl2-4814-JFW (EX)
Plaintiff

VS- STIPULATI()N TO DISMISS ACTI()N
LTD FINANCIAL SERVICES, L.P.

Defendant.

 

 

IT BEING HEREBY STIPULATED by and between the parties to
this action through their counsel of record that the above-captioned action be
dismissed With prejudice pursuant to FRCP 41(a)(1) as a result of the settlement of
this case, the parties jointly move this court to dismiss this action and all claims

asserted therein With prejudice Each party Will bear its own fees and costs.

///
///
///
///

STIPULATION TO DISMISS ACTION Case No. CV12-4814-JFW (EX)

 

 

LAW OFFICES oF TIMOTHY P. JoHNsoN

Case

 

2:12-cv-O4814-.]FW-E Document 15 Filed 09/24/12 Page 2 of 3 Page |D #:126

Dated: September 24, 2012
LAW OFFICES OF TODD M. FRIEDMAN

By: /s/Nicholas J. Bontrager
NICHOLAS J. BONTRAGER
Attorney for Plaintiff
EdVin Keshishyan

Dated: September 24, 2012
LAW OFFICES ()F TIMOTHY P. .]()HNSON

By: /s/ Timothv Johnson
TIMOTHY P. JGHNSON
Attorneys for Defendant
LTD Financial Services, L.P.

STIPULATION TO DISMISS ACTION Case No. CV12-4814-]FW (EX)

 

 

LAW OFFICES or TIMOTHY P. JoHNsoN

Case

.P

\IO\U\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

2:12-cv-O4814-.]FW-E Document 15 Filed 09/24/12 Page 3 of 3 Page |D #:127

Keshishyan v. LTD Financial Services, L.P.
USDC2 Case No. CV12-4814-JFW g§;XL

CERTIFICATE OF SERVICE
STATE OF CALIFORNIA, COUNTY OF ORANGE

1 am employed in the County of Orange, State of California. I am over the age
of 18 and not a party to the within action; my business address is 1970 Old Tustin
Avenue, Second Floor, Santa Ana, California 92705.

On September 24, 2012, 1 served a true copy of the STIPULATION TO
DISMISS ACTION AND PROPOSED ORDER on all interested parties in this
action by:

[ ] By personally delivering it to the person(s) indicated below in the
manner as provided in FRCP 5(B);

_[ ] By depositing it in the United States mail in a sealed envelope with the
postage thereon fully prepaid to the following:

[ ] By overnight delivery using an envelope or package provided by the
overnight service carrier and addressed to the following:

[ X ] By ECF: On this date, 1 electronically filed the document(s) with the
Clerk of the Court using the CM/ECF system, which sent electronic notification of
such filing to the following:

Nicholas ~J. Bontrager, Esq.

LAW GFFICES ()F TODD M. FRIEDMAN, P.C.
369 S. Doheny Dr. Suite 415

Beverly Hills, CA 90211

1 declare that 1 am employed in the office of a member of the Bar of this Court,
at whose direction the service was made.

EXECUTED on September 24, 2012, at Santa Ana, California.

/s/Timothv Johnson
TIMOTHY P. JOHNSON

_3_
ST]PULATION TO DISMISS _ACTION Case No. CVl2-4814-JFW (Ex)

 

